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8                         UNITED STATES DISTRICT COURT

9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,             No. CR 20-38-DSF

11             Plaintiff,                  I N F O R M A T I O N

12                   v.                    [21 U.S.C. § 851: Proceedings
                                           to Establish Prior Felony Drug
13   BRADFORD SHEPLEY,                     Convictions]

14             Defendant.

15

16        The Acting United States Attorney charges:
17                                   COUNT ONE
18                              [21 U.S.C. § 851]
19        Defendant BRADFORD SHEPLEY, prior to committing the
20   offenses alleged in Counts One and Two of the Indictment in
21   United States v. Bradford Shepley, No. CR 20-38-DSF, had been
22   finally convicted of a felony drug offense as that term is
23   defined and used in Title 21, United States Code, Sections
24   802(44), 841, and 851, namely, on or about June 1, 2017, in the
25   Superior Court of the State of California, County of Los
26   Angeles, case number PA088352, defendant SHEPLEY was convicted
27   of Transportation or Sale of a Controlled Substance, in
28   violation of California Health and Safety Code Section 11352(a).
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1                                    COUNT TWO

2                               [21 U.S.C. § 851]

3         Defendant BRADFORD SHEPLEY, prior to committing the

4    offenses alleged in Counts One and Two of the Indictment in

5    United States v. Bradford Shepley, No. CR 20-38-DSF, had been

6    finally convicted of a felony drug offense as that term is

7    defined and used in Title 21, United States Code, Sections

8    802(44), 841, and 851, namely, on or about June 1, 2017, in the

9    Superior Court of the State of California, County of Los

10   Angeles, case number PA088352, defendant SHEPLEY was convicted

11   of Possession or Purchase for Sale of a Controlled Substance, in

12   violation of California Health and Safety Code Section 11351.

13                                     TRACY L. WILKISON
                                       Acting United States Attorney
14

15
                                       BRANDON D. FOX
16                                     Assistant United States Attorney
                                       Chief, Criminal Division
17
                                       SHAWN J. NELSON
18                                     Assistant United States Attorney
                                       Chief, International Narcotics,
19                                      Money Laundering, and
                                        Racketeering Section
20
                                       CHRISTOPHER C. KENDALL
21                                     Assistant United States Attorney
                                       Deputy Chief, International
22                                      Narcotics, Money Laundering, and
                                        Racketeering Section
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                                       KEITH D. ELLISON
24                                     Assistant United States Attorney
                                       International Narcotics,
25                                      Money Laundering, and
                                        Racketeering Section
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